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UNITED STATES DISTRICT COURT                                                DOC#:
SOUTHERN DISTRICT OF NEW YORK                                                               -------
                                                                            DATE FILED:MAR_j_9_:?9:~!J
----------------------------------------------------------------------)(
Milton Greene, et al.,
                                    Plaintiffs,
                                                                                       13 Civ. 01500 (AJN)
                  -v-
                                                                                      MEMORANDUM &
                                                                                         ORDER
Subcontracting Concepts, L.L.C., et al.,

                                    Defendants.

----------------------------------------------------------------------)(
         Plaintiffs Milton Greene and Jean Baptiste Turenne bring this putative class action,

alleging failure to pay minimum wage and overtime, under the Fair Labor Standards Act

("FLSA") and the New York Labor Law ("NYLL"). Pending before the Court are the motion to

dismiss and compel arbitration jointly filed by Defendants Subcontracting Concepts, LLC

("SCI"), Robert Slack, and Chelsea Industries, Inc., d/b/a Same Day Delivery ("Same Day

Delivery"), Dkt. No. 24, and the motion to conditionally certify a FLSA collective action filed by

Plaintiffs, Dkt. No. 21. For the reasons that follow, Defendants' motion is GRANTED and

Plaintiffs' motion is DENIED.

I. BACKGROUND'

         Defendants SCI and Same Day Delivery are "in the courier business." Compl.                     ~   20.

Same Day Delivery is a New York City-based courier business and "client" of SCI, which

provides "payment processing and other back-office services" to companies in the courier and

light trucking industries. Compl.       ~~   20-22; Weinstein    Deel.~    2. Individual Defendants

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  The factual background draws from Plaintiffs' Complaint and from affidavits and accompanying exhibits
submitted by the parties. For purposes of deciding the motion to dismiss, the allegations in the Complaint are taken
as true.

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Karmoko Doe and Omar Doe "are the owners, operators, and managers of Same Day Delivery,"

and Individual Defendant Robert Slack is the President and Chief Operator Officer of SCI.

Compl. ~ 8.

       Plaintiffs Greene and Turenne are couriers who "deliver[ed] groceries to homes

throughout Brooklyn, New York." Compl. ~ 5. This work was directly overseen by Same Day

Delivery, which "set[] schedules and wage rates [and] determin[ed] policies with respect to

payroll." Compl. ~ 8. SCI, however, "set the terms of the Owner/Operator Agreement" entered

into by Plaintiffs, and was additionally "responsible for hiring and firing employees, setting

schedules and wage rates, [and] determining ... policies with respect to payroll." Compl. ~ 9.

       Turenne signed the Owner/Operator Agreement ("Agreement") with SCI on February 15,

2012, and Greene signed an identical version on May 26, 2012. See Fidopiatsis Deel. Exs. A, B.

Paragraph 26 of the Agreement purports to govern "any dispute, claim, question, or disagreement

arising from or relating to this agreement or the breach thereof." Fidopiatsis Deel. Ex. A~ 26.

The paragraph further provides that any such dispute, claim, question, or difference that exceeds

the "jurisdictional maximum for small claims courts within the locality of the Owner/Operator's

residence shall be finally settled by arbitration in accordance with the Federal Arbitration Act."

Fidiopatsis Deel. Ex. A ~ 26. At the end of the Agreement, right above the signature block, is

stated: "THIS CONTRACT CONTAINS A BINDING ARBITRATION PROVISION ...

WHICH AFFECTS YOUR LEGAL RIGHTS AND MAY BE ENFORCED BY THE

PARTIES." Fidiopatsis Deel. Ex. A.

       Plaintiffs filed their class and collective action complaint on March 6, 2013, alleging,

inter alia, violation of the minimum wage and hour provisions of FLSA and NYLL. See Dkt.

No. 1. The instant motions were filed on August 14, 2013.

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II. MOTION TO COMPEL ARBITRATION

        Defendants argue that, pursuant to the terms of the Agreement and the Federal

Arbitration Act ("FAA"), Plaintiffs' claims must be dismissed and submitted to arbitration. See

Def. Br. 3. The FAA provides that an agreement to arbitrate is "valid, irrevocable, and

enforceable, save upon such grounds as exist at law or in equity for the revocation of any

contract." 9 U.S. C. § 2. "This text reflects the overarching principle that arbitration is a matter

of contract," pursuant to which "comis must 'rigorously enforce' arbitration agreements

according to their terms." American Express Co. v. Italian Colors Restaurant, 133 S. Ct. 2304,

2309 (2013) (citing Rent-A-Center, West, Inc. v. Jackson, 130 S. Ct. 2772, 2776 (2010); Dean

Witter Reynolds Inc. v. Byrd, 4 70 U.S. 213, 221 (1985)). Accordingly, a court should order

arbitration if it is satisfied that the agreement to arbitrate: (1) was validly formed; (2) is

enforceable; and (3) applies to the dispute at issue. See In re A2P Antitrust Litig., -- F. Supp. 2d

--, 2013 WL 5202824, at *5 (S.D.N.Y. 2013) (citing Granite Rock Co. v. Int 'l Bhd. of Teamsters,

561 U.S. 287, 130 S.Ct. 2847, 2858-59 (2010)).

        A. As to SCI

        While refusing to "admit that [the Agreement] requires that they arbitrate the claims

brought in this lawsuit," Plaintiffs do not otherwise make any arguments opposing arbitration of

their claims against SCI. Pl. Opp. 1. It is, moreover, apparently undisputed that the Agreement

was validly formed and generally enforceable. See Pl. Opp. 1.

       Nor can there be any dispute that the arbitration provision applies to Plaintiffs' dispute

with SCI. By its terms, the arbitration provision broadly applies to "any dispute, claim, question,

or disagreement arising from or relating to [the Agreement] or the breach thereof." Agreement,

Fidopiastis Deel. Ex. A ~ 26. With such a "broad arbitration agreement, there is a presumption

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of arbitrability overcome only if 'it may be said with positive assurance that the arbitration

clause is not susceptible of an interpretation that covers the asserted dispute,"' with any

"[d]oubts ... resolved in favor of coverage." Grenawalt v. AT&T Mobility, LLC, 937 F. Supp. 2d

438, 456 (S.D.N.Y. 2013) (quoting Duane Street Assocs. v. Local 32B-32J, No. 00 Civ. 3861

(SHS), 2000 WL 802889, at *2 (S.D.N.Y. June 21, 2000)). Under this standard, Plaintiffs'

claims against SCI are plainly arbitrable. Accordingly, Defendants' motion to compel arbitration

is granted as to those claims.

        B. As to Same Day Delivery

        Plaintiffs do, however, vigorously contest the applicability of the arbitration agreement to

their claims against Same Day Delivery. See Pl. Opp. 1. Specifically, Plaintiffs argue that their

claims against Same Day Delivery are not subject to the arbitration agreement "because

Plaintiffs never signed an arbitration agreement with Same Day Delivery and had no reason to

know or suspect that the [Agreement] that they signed with [SCI] would require them to arbitrate

any dispute with Same Day Delivery." Id.

               1. Arbitrability of Question ofArbitrability

       As an initial matter, the Court must address whether the arbitrability of Plaintiffs' claims

against Same Day Delivery is itself a question reserved for arbitration. See Def. Br. 7; Pl. Opp.

3-5. Although doubts as to the scope of an ambiguous arbitration agreement should generally

"be ... resolved in favor of arbitration," doubts as "to who determines arbitrability-that is, the

arbitrability of the question of arbitrability" are presumptively resolved in favor ofresolution by

courts. Bell v. Cendant Corp., 293 F.3d 563, 566 (2d Cir. 2002) (citing Moses H Cone Mem 'l

Hosp. v. Mercury Construction Corp., 460 U.S. 1, 24-25 (2009); PaineWebber Inc. v. Bybyk, 81

F.3d 1193, 1198 (2d Cir. 1996)) (emphasis in original). Thus, "the issue of arbitrability may

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only be referred to the arbitrator if 'there is clear and unmistakeable evidence from the

arbitration agreement, as construed by the relevant state law, that the parties intended that the

question of arbitrability ... be decided by the arbitrator."' Id. (quoting Paine Webber Inc., 81

F .3d at 1198-99) (emphasis in original).

        The arbitration provision at issue in this case is completely silent as to what entity is

charged with deciding arbitrability. See Agreement, Fidopiastis Deel. Ex.     A~   26. Such silence

cannot constitute "clear and unmistakeable evidence" of the parties' intent to submit the question

of arbitrability to the arbitrator. Bell v. Cendant Corp., 293 F.3d at 566. Cf Contee Corp. v.

Remote Solution, Co., Ltd., 398 F.3d 205, 208-09 (2d Cir. 2005) (finding intent to submit

questions of arbitrability to the arbitrator when agreement expressly referred to rules stating that

"[t]he arbitrator shall have the power to rule on his or her own jurisdiction"). Under these

circumstances, the question of arbitrability must be decided by the Court.

                2. Estoppel

        Having determined that the question of arbitrability is before it, the Court turns its

attention to whether the dispute between Plaintiffs and Same Day Delivery is indeed arbitrable.

In opposition to arbitration, Plaintiffs argue that SCI's relationship with Same Day Delivery is

not "of a nature that justifies a conclusion that [Plaintiffs] should be estopped from denying" that

they are obligated to arbitrate their dispute with Same Day Delivery. Sokol Holdings, Inc. v.

BMB Munai, Inc., 542 F.3d 354, 359 (2d Cir. 2008); see Pl. Br. 5-8 (arguing that Defendants'

contractual relationship is not the type giving rise to estoppel).

       In the Second Circuit, a non-signatory may enforce an arbitration agreement against a

signatory if "the issues the nonsignatory is seeking to resolve in arbitration are intertwined with

the agreement that the estopped party has signed," and, additionally, the nonsignatory's

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relationship with the signatory is sufficiently close to justify estoppel. Sokol Holdings, 542 F.3d

at 358-59. For purposes of this motion, Plaintiffs "do not dispute that the issues that Same Day

Delivery seeks to resolve are related to the agreement signed by Plaintiffs" and SCI. Pl. Opp. 5-

6.

       Plaintiffs instead focus on the relationship among the parties, arguing that "the cases

where [the Second Circuit] has permitted a non-signatory to compel arbitration" are "based on

the corporate relationships between the signatory and non-signatory movants." Pl. Opp. 6. That

is, Plaintiffs argue that estoppel principles justify arbitration as to disputes with non-signatories

only "in cases involving subsidiaries, affiliates, agents, and other related business entities, where

'a non-signatory defendant owns or controls a signatory defendant,' or where the non-signatory

is an employee or disclosed agent of the signatory entity."' Pl. Opp. 7 (citing Ross v. American

Express Co., 547 F.3d 137, 244 (2d Cir. 2008); Simply Fit of N. America, Inc. v. Poyner, 579 F.

Supp. 2d 371, 382 (E.D.N.Y. 2008)). Non-signatory Same Day Delivery's "client" relationship

with signatory SCI, Plaintiffs contend, is not sufficiently "deep[]" to "give Plaintiffs reason to

believe, without specific notice, that an agreement with SCI would bind [them] as to Same Day

Delivery." Pl. Opp. 8.

       Plaintiffs' argument against estoppel is, however, foreclosed by Ragone v. Atlantic Video

at the Manhattan Center, 595 F.3d 115 (2d Cir. 2010). In that case, the Second Circuit held that

non-signatory ESPN could enforce an arbitration agreement signed by the plaintiff and co-

defendant A VI, notwithstanding the absence of any alleged corporate relationship between ESPN

and A YI (or ESPN and the plaintiff). See 595 F.3d at 126-28. Rather, the Second Circuit found

estoppel appropriate because the plaintiffs complaint made it "plain that when [she] was hired



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by A VI, she understood ESPN to be, to a considerable extent, her co-employer." 595 F.3d at

127.

        In this case, Plaintiffs' pleadings likewise make plain their understanding that non-

signatory Same Day Delivery and signatory SCI were their co-employers: Plaintiffs allege

identical FLSA and NYLL claims against Same Day Deliver and SCI, both of which are alleged

to be Plaintiffs' "employers." See, e.g., Compl.   ~   57 (alleging that all "Defendants" improperly

classified employees as independent contractors"); Pl. Opp. 9 ("Plaintiffs do not assert that they

were only employees of Same Day Delivery and not SCI."). Plaintiffs, for example, allege that

Robe1i Slack, as "the President and Chief Operating Officer for SCI," "set terms of [the

Agreement] entered into between SCI and various drivers, including Plaintiffs and was

responsible for hiring and firing employees, setting schedules and wage rates, determining SCI's

policies with respect to payroll and otherwise running the business of SCI." Compl.      ~   9. Having

thus alleged that they were employed by both non-signatory Same Day Delivery and signatory

SCI, by virtue of the Agreement containing the arbitration clause, Plaintiffs are estopped from

denying their obligation to arbitrate their dispute with Same Day Delivery. See Crewe v. Rich

Dad Educ., LLC, 884 F. Supp. 2d 60, 75 n.6 (S.D.N.Y. 2012) (agreeing that plaintiffs would be

estopped from refusing to arbitrate dispute with non-signatory, "given the Amended Complaint's

pervasive allegations of interdependent and coordinated misconduct between nonsignatories and

signatory").

       The Court is not persuaded otherwise by Plaintiffs' argument that they "were given no

reason to suspect that their relationship with Same Day Delivery [was] changed following the

signing of the SCI Contract," which occurred after Plaintiffs had already been working with

Same Day Delivery "for a substantial period of time." Pl. Opp. 9. According to Plaintffs, "[t]he

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only significant differences in Plaintiffs' employment after they signed the first agreement with

SCI were that Plaintiffs began to receive paychecks bearing SCI's logo and had deductions taken

out of their paychecks purportedly by SCI." Id. The allegation that the Agreement caused

Plaintiffs to be paid by SCI for the work they did for Same Day Delivery, however, is not at all

inconsistent with the Court's conclusion that Plaintiff understood Same Day Delivery to be, "to a

significant extent, [their] co-employer." Ragone, 595 F.3d at 127. To the contrary, these

allegations only increase the significance of Same Day Delivery's relationship with Plaintiffs in

relation to the Agreement they signed with SCI, further supporting the Court's conclusion that

that relationship between the two defendants was sufficiently close in nature to justify arbitration

of Plaintiffs' claims against both. Cf Id. at 128 (estopping plaintiff from denying obligation to

arbitrate with nonsignatory where she alleged "knowledge that she would extensively treat with

[non-signatory] ESPN personnel").

                  3. Third Party Beneficiary

        Defendants further argue that Same Day Delivery may enforce the arbitration agreement

as a third-party beneficiary to that agreement. See Def. Br. 6-7. Having found that Same Day

Delivery can enforce the arbitration agreement under estoppel principles, the Court need not

reach this question.

                  4. Applicability to Dispute Against Same Day Delivery

       The arbitration provision applies to Plaintiffs' dispute against Same Day Delivery for the

same reason that it applies to Plaintiffs' dispute against SCI: their claims plainly "relat[e] to" the

Agreement, as set forth by the terms of the arbitration provision. See Agreement, Fidopiatsis

Deel. Ex.   A~~   15, 26. This conclusion is further compelled by the longstanding principle that

courts must give "due regard ... to the federal policy favoring arbitration" and resolve

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"ambiguities as to the scope of the arbitration clause itself... in favor of arbitration." Volt Info.

Scis, Inc. v. Bd. ofTrs. of Leland Stanford Junior Univ., 489 U.S. 468, 474-75 (1989); see also

Grenawalt, 937 F. Supp. 2d at 456 (S.D.N.Y. 2013). Defendants' motion to compel arbitration

is, accordingly, granted as to Plaintiffs' claims against Same Day Delivery.

III. MOTION FOR CLASS CERTIFICATION

         The Court having granted Defendants' motion to dismiss and compel arbitration,

Plaintiffs' motion for conditional certification and authorization to issue notice to similarly

situated parties is denied.

IV. CONCLUSION

         For the foregoing reasons, Defendants' motion to dismiss and compel arbitration is

GRANTED, and Plaintiffs' motion for conditional certification is DENIED. This resolves

Docket Numbers 21 and 24. The Clerk of Court is requested to terminate this case.

         SO ORDERED.

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         New York, New York




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